     Case: 1:19-cv-03550 Document #: 11 Filed: 07/03/19 Page 1 of 2 PageID #:51




                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

                                                    )
ALBERTA DOMONIQUE WILSON, for herself               )
and on behalf of her minor children, ROY            )
SMART, ROYAL SMART, and ROYALTY                     )
SMART;                                              )
                                                    )
                              Plaintiffs,           )       Case No. 19-cv-3550
v.                                                  )
                                                    )       Judge Norgle
                                                    )
THE CITY OF CHICAGO; Chicago police                 )       Magistrate Judge Harjani
Officer JOHN NEMEC (Star #19704); and               )
OTHER, CURRENTLY UNKNOWN                            )
CHICAGO POLICE OFFICERS,                            )
                                                    )       Jury Demanded
                              Defendants.           )
                                                    )

                     NOTICE OF DISMISSAL WITHOUT PREJUDICE
                         PURSUANT TO F. R. C. P. 41(a)(1)(A)(i)

               Pursuant to F. R. C. P. 41(a)(1)(A)(i), plaintiff Alberta Domonique Wilson, for

herself and as next friend and parent of her three minor children, Roy Smart, Royal Smart, and

Royalty Smart, hereby voluntarily dismisses this action without prejudice.


Respectfully submitted,


/s/ Al Hofeld, Jr.
Al Hofeld, Jr.

Counsel for Plaintiffs
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 NOTICE OF FILING AND CERTIFICATE OF SERVICE BY ELECTRONIC MEANS

        I, Al Hofeld, Jr., attorney for plaintiff, hereby certify that on July 3, 2019, filing and service
of the foregoing NOTICE OF DISMISSAL WITHOUT PREJUDICE PURSUANT TO F. R. C.
P. 41(a)(1)(A)(i) was accomplished pursuant to ECF as to Filing Users, and I shall comply with
LR 5.5 as to any party who is not a Filing User or represented by a Filing User.


                                                /s/ Al Hofeld, Jr.
                                                Al Hofeld, Jr.



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